 Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 1 of 8 PageID: 5629




NOT FOR PUBLICATION

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                 CAMDEN VICINAGE

                                                     :
 UNITED STATES OF AMERICA,                           :
                                                     :
                  Plaintiff,                         :         Crim. No. 07-459 (RBK)
                                                     :
            v.                                       :         OPINION
                                                     :
 SERDAR TATAR,                                       :
                                                     :
                  Defendant.                         :
                                                     :
                                                     :

KUGLER, United States District Judge:

       This matter comes before the Court upon the following Motions: (1) Defendant’s Sealed

Motion for Reduction of Sentence Under First Step Act (Doc. 489); (2) Defendant’s Motion for

Reduction of Sentence Under First Step Act (Doc. 490); and (3) Christopher O’Malley’s Motion

to Withdraw as Attorney (Doc. 494).

I.     BACKGROUND

       Defendant is Serdar Tatar. Beginning around 2006, Tatar, along with a group of several

other men, conspired and developed a plan to commit an attack on the United State Army Base at

Fort Dix. United States v. Duka, 671 F.3d 329, 332–35 (3d Cir. 2011). The evidence presented at

trial indicated that Tatar and the co-defendants developed an interest in violent jihad, particularly

attacks against the United States military. Id. Over the course of sixteen months, Tatar and the

other men sought to acquire numerous weapons, engaged in shooting practice, and discussed plans

to attack Fort Dix. Id. In discussing these plans, the defendants conducted research and Tatar

personally procured a map of the army base to use in planning and coordinating such an attack. Id.

                                                 1
 Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 2 of 8 PageID: 5630




Regarding the overall plan to attack Fort Dix, Tatar told an FBI informant in a recorded

conversation, “I’m in, honestly, I’m in.” Id. In 2008, a jury convicted Tatar of conspiracy to murder

members of the United States military, in violation of 18 U.S.C. §§1114 and 1117. (Doc. 371.)

The Court accordingly sentenced Tatar to 396 months in prison. (Doc. 427.) On appeal, the Third

Circuit affirmed Tatar’s conviction. 671 F.3d at 356.

       Tatar is now thirty-seven years old and is serving his sentence at Memphis FCI. Tatar has

179 months left to serve on his 396-month custodial sentence. Despite this remaining sentence,

Defendant seeks compassionate release due to the ongoing COVID-19 pandemic. (See Docs. 489

(“Mot.”), 490, and 493 (“Supp. Brief.”)) Tatar applied to the Bureau of Prisons for compassionate

release, but the request was denied. (Opp. at 4.)

       The Federal Public Defender’s Office reviewed Tatar’s filing, but determined that the

“office [would] not be entering an appearance in this case because [Tatar] does not appear to fall

within the class of people that the Centers for Disease Control considers the most vulnerable to

COVID-19[.]” (Doc. 494.) Accordingly, Assistant Federal Public Defender Christopher O’Malley,

Tatar’s trial counsel, filed a Motion to withdraw as counsel. (Id.)

II.    LEGAL STANDARD

       A. Motion for Reduction of Sentence Under First Step Act

       Under the recently enacted First Step Act, a court may afford a defendant “compassionate

release for ‘extraordinary and compelling reasons.’” United States v. Sellers, Crim. No. 10-434,

2020 WL 1972862, at *1 (D.N.J. Apr. 24, 2020) (quoting 18 U.S.C. § 3582(C)(1)(A)(i)). Before

bringing a motion for reduced sentence on their own behalf, defendants first “must ask the Bureau

of Prisons (“BOP”) to do so on their behalf, give BOP thirty days to respond, and exhaust any

available administrative appeals.” United States v. Raia, Civ. No. 20-1033, 2020 WL 1647922, at



                                                    2
 Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 3 of 8 PageID: 5631




*1 (3d Cir. Apr. 2, 2020) (citing § 3582(c)(1)(A)). “Thus, under the First Step Act, a defendant

seeking a reduction in his term of imprisonment bears the burden of satisfying both that he has (1)

exhausted remedies before seeking judicial review, and (2) that compelling and extraordinary

reasons exist to justify compassionate release.” Sellers, 2020 WL 1972862 at *1 (citing 18 U.S.C.

§ 3582(C)(1)(A)).

        At this second step, a court may reduce an inmate’s sentence pursuant to 18 U.S.C. §

3852(c)(1)(A) “if the court finds that (1) extraordinary and compelling reasons warrant a reduction,

(2) the reduction would be consistent with applicable policy statements issued by the Sentencing

Commission, and (3) the applicable sentencing factors under § 3553(a) warrant a reduction.”

United States v. Pabon, Crim. No. 17-165-1, 2020 WL 2112265, at *2 (E.D. Pa. May 4, 2020).

III.    DISCUSSION

        A. Motion for Reduction of Sentence Under First Step Act

        The parties agree that Tatar has satisfied the exhaustion requirement and is thus permitted

to bring a motion for reduced sentence in this Court. Thus, the Court focuses on the second step

of the analysis: (1) whether Tatar has demonstrated that extraordinary and compelling reasons exist

for his release and (2) whether the Section 3553(a) factors weigh in Tatar’s favor.

                1. Whether Extraordinary and Compelling Reasons Exist

        Tatar asserts that the COVID-19 pandemic and the presence of the virus at Memphis FCI

constitutes extraordinary and compelling circumstances warranting a reduction in his sentence.

(Supp. Br. at 6.) Tatar states that he “is in fear for his health and life because of the high likelihood

of catching the virus if and when COVID-19 starts to spread in this institution.” (Mot. at 8.) While

the Court does not seek to undermine the seriousness of this pandemic, the Court finds these

general argument unpersuasive. The Third Circuit recently addressed the issue of COVID-19 as it



                                                   3
    Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 4 of 8 PageID: 5632




pertains to prison populations, stating that the “mere existence of COVID-19 in society and the

possibility that it may spread” in a particular prison “alone cannot independently justify

compassionate release.” Raia, 2020 WL 1647922, at *2. The Court also considers the data

collected regarding COVID-19 at Memphis FCI. The prison holds a total of 1,070 inmates. 1

However, there are currently only three active inmate cases at the facility. 2 Standing alone, the

relatively low existence of COVID-19 at Memphis FCI is insufficient to show “extraordinary and

compelling reasons” for release. See United States v. Stevens, Crim. No. 19-350-02, 2020 WL

1888968, at *4 (E.D. Pa. Apr. 16, 2020) (“Although the Court is aware of the dangers posed by

COVID-19 and is sympathetic to [Defendant’s] concern about COVID-19 given his diabetes,

speculation about possible future conditions at the FDC does not constitute an exceptional reason

for release.”) (collecting cases); United States v. Haney, Crim. No. 19-541, 2020 WL 1821988 at

*5 (S.D.N.Y. Apr. 13, 2020) (denying a 61-year-old defendant’s request for early release, stating

that although the prison has several confirmed cases of COVID-19, “there is no meaningful

counter-evidence suggesting that the COVID-19 virus is rapidly spreading in the [prison]”); United

States v. Sellers, Crim. No. 10-434, 2020 WL 1972862 at *2 (D.N.J. Apr. 24, 2020) (finding “the

measures instituted by the BOP to be reasonable to address the virus outbreak” at a federal prison

in New York even though several inmates had tested positive).

        Moreover, the mere presence of COVID-19 at a prison, does not entitle every offender with

a medical condition to compassionate release. See, e.g., United States v. Roeder, 807 Fed. App’x

157, 161 n.16 (3d Cir. 2020). Rather, Tatar must establish that the risks to him, in light of his




1
  FCI Memphis, Federal Bureau of Prisons, https://www.bop.gov/locations/institutions/mem/ (last visited
Oct. 26, 2020).
2
  COVID-19 Coronavirus, Federal Bureau of Prisons, https://www.bop.gov/coronavirus/ (last visited Oct.
26, 2020).

                                                  4
    Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 5 of 8 PageID: 5633




individual medical conditions and circumstances, are so extraordinary and compelling that the

Court should release him with nearly fifteen years left on his sentence.

        Tatar does go a step beyond arguing risks of COVID-19 generally by arguing that he is

particularly vulnerable to the virus due to his specific health conditions. Tatar contends that he

suffers from tuberculosis, which puts him at a higher risk of contracting COVID-19. 3 (Mot. at 5.)

In response, the Government argues that Tatar presents no conditions that would put him in the

CDC’s “high-risk category” (Opp. at 17). With regard to Tatar’s tuberculosis claims, the

Government asserts that Tatar’s medical records in fact establish that he “is not experiencing active

tuberculosis symptoms” and instead Tatar may in fact have latent tuberculosis. (Id. at 17–20.) If

the latter is true, Tatar may actually be at a reduced risk of contracting COVID-19. (Id. at 20.)

        The Court looks to guidance from the CDC to determine whether Tatar’s individual

medical conditions and circumstances are extraordinary and compelling. According to this

guidance, certain categories of individuals face a higher risk from COVID-19. 4 These include

“older adults”—defined as “65 years and older”—and “people of any age who have serious

underlying medical conditions.” Id. The serious medical conditions referenced include cancer,

chronic kidney disease, heart conditions, weakened immune system from solid organ transplant,

obesity, smoking, and type 2 diabetes mellitus. 5



3
  Tatar briefly mentions that he suffers “respi[ratory] problems that [are] the leading cause of heart disease,
compromised immune system, [and] kidney problems.” (Doc. 490 at 7.) Tatar does not elaborate or explain
what these alleged kidney issues are, nor does he assert that he has sought medical care or received a medical
diagnosis related to his kidneys. Tatar contends that he “inherited” sleep apnea “from his paternal genes,”
which he contends is “the leading cause[] of heart disease.” (Supp. Brief at 1.) However, Tatar does not
assert that he is currently suffering from heart disease. The crux of Tatar’s Motion relies on the latent
tuberculosis diagnosis. Accordingly, the Court’s analysis focuses primarily on this issue.
4
   People at Increased Risk for Severe Illness, Center for Disease Control, (Sept. 11, 2020)
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-
conditions.html.
5
   People with Certain Medical Conditions, Center for Disease Control, (Oct. 16, 2020)
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html

                                                      5
 Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 6 of 8 PageID: 5634




       At 37 years old, Tatar is not categorized as an “older adult.” Additionally, Tatar does not

provide evidence to establish that he has any of the enumerated conditions that would place him

at high risk of contracting COVID-19. Tatar states that he “was diagnosed with ‘tuber[culosis]’ by

a skin test soon after he arrived [in] the United States.” (Supp. Br. at 5.) However, Tatar arrived in

the United States in 1998 and has since “received treatment in order to prevent the illness from

spreading to his lungs[.]” (Id.) Tatar’s medical records do not show he is currently suffering from

active tuberculosis or that his condition is uncontrolled. Rather, Tatar concedes that “his condition

has thus far been manageable in prison[.]” (Id. at 12.)

       Moreover, tuberculosis is not among the conditions that the CDC has identified as creating

a significant risk of contracting a severe case of COVID-19. Indeed, other courts in this Circuit

have denied similar motions where the defendant suffered from tuberculosis, but the “condition

[was] controlled and . . . [the defendant] successfully completed his treatment protocol.” See, e.g.,

United States v. Rodriguez, No. 17-618, 2020 WL 3447777 (E.D. Pa. June 24, 2020); United States

v. Mark Viboll, No. 10-742, 2020 WL 5801495, at *2 (E.D. Pa. Sept. 29, 2020) (“Despite his

diagnosis of latent TB infection about eight years ago, nothing in the record suggests that

[defendant] was treated for this condition prior to August 4, 2020, nor that the prison cannot

manage his mild reported symptoms”); United States v. Brown, No. 12-00224, 2020 WL 4345077,

at *3 (W.D. Pa. July 29, 2020) (denying compassionate release motion and finding “latent TB, by

itself does not rise to an extraordinary and compelling reason for release[.]”). Accordingly, because

Tatar is only 37 years old and has submitted no evidence that is suffering from an enumerated

condition, he does not qualify under this published guidance as being at greater risk of contracting

a severe case of COVID-19.




                                                  6
 Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 7 of 8 PageID: 5635




        Because Defendant’s health conditions do not place him at a significantly greater risk of

complications from COVID-19, he does not meet the required “extraordinary and compelling”

standard for reduction of his sentence. See United States v. Epstein, Crim. No. 14-287-1, 2020 WL

2537648 (D.N.J. May 19, 2020) (denying an inmate’s motion for sentence reduction after finding

that his health conditions were under control while in prison).

                2. Section 3553(a) Factors

        Moreover, an analysis of the Section 3553(a) factors further supports the denial of Tatar’s

request for sentence reduction. In considering whether to reduce a defendant’s sentence, a court

must look to the factors contained in 18 U.S.C. § 3553(a). These factors include:

        (1) the nature and circumstances of the offense and the history and characteristics
        of the defendant;
        (2) the need for the sentence imposed—
                (A) to reflect the seriousness of the offense, to promote respect for the law,
                and to provide just punishment for the offense;
                (B) to afford adequate deterrence to criminal conduct;
                (C) to protect the public from further crimes of the defendant; and
                (D) to provide the defendant with needed educational or vocational training,
                medical care, or other correctional treatment in the most effective manner

18 U.S.C. § 3553.

        Tatar argues that he has been sufficiently rehabilitated in prison. He asserts that “in pursuit

of his rehabilitation,” he has “devoted himself to education” and “successfully received an

extensive achievement[.]” (Supp. Br. at 11.) He states that he presents a “low-risk of recidivism”

as a first offender with no prior arrests. (Id. at 20.) Tatar further contends that release is warranted

because he has been a “model prison inmate” and has befriended military veterans that he is

incarcerated with. (Id. at 12, 21–22.)

        While the Court commends Tatar for his actions while in prison, the Court finds that the

Section 3553(a) factors weigh firmly against compassionate release. Tatar undoubtedly committed



                                                   7
 Case 1:07-cr-00459-RBK Document 497 Filed 11/02/20 Page 8 of 8 PageID: 5636




an extremely serious crime for which adequate deterrence and punishment is required. At this time,

Tatar has served less than half of his thirty-year sentence. Moreover, despite Tatar’s contentions

to the contrary (id. at 18–20), Tatar was not a minor and reluctant member of the underlying

conspiracy. Rather, Tatar played a crucial role when he provided the co-defendants with a map of

the Fort Dix army base and further affirmed his participation in the conspiracy when Tatar told the

other defendants that he “was in.” On these facts and the totality of Defendant’s actions, this Court

finds that Section 3553(a) factors weigh against granting Defendant’s motion for a reduced

sentence. In finding so, the Court is cognizant of the need to protect the public and the seriousness

of Tatar’s conduct. See United States v. Butler, Crim. No. 19-834-10, 2020 WL 1689778, at *3

(S.D.N.Y. Apr. 7, 2020) (denying a motion for early release of a MDC inmate with asthma and a

serious heart condition, after finding that, “[w]hile the prospect of contracting COVID-19

undeniably presents a serious risk to [the defendant’s] health, his [early] release . . . at least equally

exposes the community to a serious risk that he would resume violence.”). Accordingly, the

Motion for Compassionate Release is denied.

IV.     CONCLUSION

        For the reasons contained herein, (1) Defendant’s Sealed Motion for Reduction of Sentence

Under First Step Act (Doc. 489) is DENIED; (2) Defendant’s Motion for Reduction of Sentence

Under First Step Act (Doc. 490) is DENIED; and (3) Christopher O’Malley’s Motion to Withdraw

as Attorney (Doc. 494) is GRANTED. An accompanying Order shall issue.



Dated: 11/2/2020                                                           /s/ Robert B. Kugler
                                                                           ROBERT B. KUGLER
                                                                           United States District Judge




                                                    8
